                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

FRED WATSON,                                  )
                                              )
              Plaintiff,                      )
                                              )
       v.                                     )           No. 4:17CV2187 JCH
                                              )
CITY OF FERGUSON, MISSOURI, et al.,           )
                                              )
              Defendants.                     )


                                          JUDGMENT

       In accordance with the Memorandum and Order entered this day and incorporated herein,

      IT IS HEREBY ORDERED, ADJUDGED and DECREED that Defendants’ Joint

Motion for Summary Judgment is GRANTED, and Plaintiff’s First Amended Complaint is

DISMISSED with prejudice.



Dated this 26th Day of September, 2022.



                                              /s/ Jean C. Hamilton
                                              UNITED STATES DISTRICT JUDGE
